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                      IN THE UNITED STATES DISTRICT COURT

                         FOR THE DISTRICT OF MONTANA                          FILED
                                  HELENA DIVISION                              SEP 1 1 2017
                                                                             Clerk, U.S. District Court
                                                                                District Of Montana
 UNITED STATES OF AMERICA,                         CR 17-07-H-SEH                     Helena



                              Plaintiff,           ORDER

          vs.

 JEFF ALLEN TRASK,
 CHASE RYAN STORLIE, ·
 HECTOR RICARDO GONZALEZ,
 and CHRISTIAN JESUS RUIZ,

                              Defendants.

      Defendant Christian Jesus Ruiz having entered a guilty plea to Count III of

the Indictment,

      ORDERED:

      Defendant Ruiz's Motion to Suppress' is DENIED as MOOT.

      DATED this        //~of September, 2017.
                                             /~DI#~~
                                              United States District Judge


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          Doc. 156.
